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 8                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 9                            SAN FRANCISCO-OAKLAND DIVISION

10
     SIERRA CLUB and SOUTHERN BORDER                         Case No.: 4:19-cv-00892-HSG
11
     COMMUNITIES COALITION,
12                                 Plaintiffs,
                                                            [PROPOSED] ORDER GRANTING
13          v.                                              UNOPPOSED MOTION OF NAACP
                                                            LEGAL DEFENSE & EDUCATIONAL
14   DONALD J. TRUMP, President of the United               FUND, INC. FOR LEAVE TO FILE
     States, in his official capacity, et al.,              AMICUS BRIEF IN SUPPORT OF
15                                                          PLAINTIFFS’ MOTION FOR
                                  Defendants.               PARTIAL SUMMARY JUDGMENT
16

17          Upon consideration of the unopposed motion of the NAACP Legal Defense &

18   Educational Fund, Inc. (“LDF”) for leave to file a brief as amicus curiae in support of Plaintiffs’

19   motion for partial summary judgment, it is hereby ORDERED that the motion is GRANTED.

20    Counsel
     The Clerk is directed to file the LDF’s amicus curiae brief on the docket in this matter.

21

22               10/21/2019
      Dated:
                                                   Judge Haywood S. Gilliam, Jr.
23
                                                   UNITED STATES DISTRICT COURT JUDGE
24
                                                      1
         PROPOSED ORDER GRANTING UNOPPOSED MOTION OF THE NAACP LEGAL
         DEFENSE & EDUCATIONAL FUND, INC. FOR LEAVE TO FILE AMICUS BRIEF
                           CASE NO. 4:19-CV-00892-HSG
